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13

14                               UNITED STATES DISTRICT COURT

15                                     DISTRICT OF NEVADA

16

17   ORACLE USA, INC., a Colorado corporation;
     ORACLE AMERICA, INC. a Delaware                    Case No. 2:10-cv-00106-LRH-PAL
18   corporation; and ORACLE INTERNATIONAL
     CORPORATION, a California corporation,             [PROPOSED] ORDER GRANTING
19                                                      PLAINTIFFS ORACLE USA, INC.,
                   Plaintiffs,                          ORACLE AMERICA, INC., AND
20          v.                                          ORACLE INTERNATIONAL
                                                        CORPORATION’S MOTION FOR
21   RIMINI STREET, INC., a Nevada corporation;         EVIDENTIARY SANCTIONS FOR
     SETH RAVIN, an individual,                         SPOLIATION
22
                    Defendants.                         REDACTED
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                                                                         Case No. 2:10-cv-00106-LRH-PAL

        [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR EVIDENTIARY SANCTIONS FOR SPOLIATION
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 1                                         [PROPOSED] ORDER

 2          Pending before this Court is Plaintiffs Oracle USA, Inc., Oracle America, Inc., and

 3    Oracle International Corporation’s (collectively “Oracle”) Motion for Evidentiary Sanctions for

 4    Spoliation against Defendants Rimini Street, Inc. and Seth Ravin (together, “Rimini”) [Docket

 5    No. ___]. After full consideration of the moving and opposing papers of each party, the

 6    arguments of counsel, and all other matters presented to the Court, the motion is GRANTED.

 7          In January 2010,

 8                                                                 the contents of a Rimini network

 9   location known as the “software library.” The evidence shows that Rimini employees copied

10   into the software library a wide array of PeopleSoft software and support materials, and later

11   copied those same materials from the library to create installed copies of PeopleSoft software,

12   referred to as “environments.” The software library was not segregated in customer-specific

13   “data silos” but was instead organized by product and version.

14

15

16          The Court has inherent authority to impose sanctions for spoliation, including for the

17    destruction of evidence relevant to reasonably foreseeable litigation. In re Nat'l Consumer

18    Mortg., LLC, 2:10-CV-00930-PMP, 2011 WL 1300540, at *8 (D. Nev. Mar. 31, 2011) (citing

19    United States v. Kitsap Physicians Svs., 314 F.3d 995, 1001 (9th Cir. 2002)). The duty to

20    preserve evidence “extends to the period before litigation when a party should reasonably know

21    that evidence may be relevant to anticipated litigation.” Morford v. Wal-Mart Stores, Inc.,

22    2:09-CV-02251-RLH, 2011 WL 635220, at *3 (D. Nev. Feb. 11, 2011) (citing In re Napster,

23    462 F. Supp. 2d 1060, 1067 (N.D. Cal. 2006)).

24          Here, Rimini should have anticipated and did anticipate this litigation prior to the January

25   2010 deletion of the software library. In December 2008 and January 2009, counsel for Oracle

26   sent letters to Rimini warning of claims of copyright infringement, including through the

27   maintenance of a centralized “library” of Oracle software used to support multiple customers,

28   and in a September 2009 filing in this Court, Rimini acknowledged that these letters were threats
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 1   of litigation. Moreover, in that filing, Rimini argued that Oracle was preparing litigation against

 2   Rimini.

 3                                         These facts demonstrate that Rimini should have, and did,

 4   anticipate this litigation, and thus it was under a duty to preserve evidence. See Surowiec v.

 5   Capital Title Agency, Inc., 790 F. Supp. 2d 997, 1005-06 (D. Ariz. 2011) (written threat of

 6   litigation triggered duty in advance of lawsuit); Goodman v. Praxair Services, Inc., 632 F. Supp.

 7   2d 494, 511 (D. Md. 2009) (where a “letter openly threatens litigation, then the recipient is on

 8   notice that litigation is reasonably foreseeable and the duty to preserve evidence relevant to that

 9   dispute is triggered”); Zubulake v. UBS Warburg LLC, 220 F.R.D. 212, 217 (S.D.N.Y. 2003)

10   (defendants’ recognition of possible suit triggered duty in advance of litigation); In re Napster,

11   462 F. Supp. 2d at 1068-69 (evidence, including actions to prepare for litigation, showed duty to

12   preserve in advance of lawsuit); see also Micron Tech., Inc. v. Rambus Inc., 645 F.3d 1311, 1325

13   (Fed. Cir. 2011). Accordingly, the January 2010 deletion of the software library was spoliation

14   in violation of Rimini’s duty to preserve evidence.

15          To determine which sanctions are appropriate for Rimini’s spoliation, courts consider (1)

16   the degree of fault of the party who altered or destroyed the evidence; (2) the degree of prejudice

17   suffered by the opposing party; and (3) whether there is a lesser sanction that will avoid

18   substantial unfairness to the opposing party. See, e.g., Cont’l Cas. Co. v. St. Paul Surplus Lines

19   Ins. Co., 265 F.R.D. 510, 533 (E.D. Cal. 2010).

20          First, Rimini is at fault. Its deletion of the library was “willful” because Rimini

21   undertook an affirmative act after Rimini had “some notice that the documents were potentially

22   relevant to the litigation.” Leon v. IDX Sys. Corp., 464 F.3d 951, 959 (9th Cir. 2006) (citation

23   omitted; emphasis in original). That is a more than adequate basis for an award of evidentiary

24   sanctions. See Glover v. BIC Corp., 6 F.3d 1318, 1329 (9th Cir. 1993)

25          Second, the deletion prejudiced Oracle. Oracle contends that Rimini’s creation and use

26   of the software library supports its claim for copyright infringement and rebuts Rimini’s license

27   defense because, Oracle asserts, the customer licenses on which Rimini depends do not authorize

28   use of software from one customer to support a different customer. Indeed, Rimini specifically
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 1   pled in this case that it maintained clients’ Oracle software and support materials in customer-

 2   specific “data silos”, that its clients’ Oracle software and support materials were not “physically

 3   co-mingled together,” and that a centralized “library” of Oracle software and support material

 4   “never existed at Rimini Street.” (Dkt. 153 at 2-3.)

 5          Furthermore, in discovery, Oracle propounded a number of interrogatories directed at

 6   these issues, including the contents of the software library and how it was copied, and moved to

 7   compel responses to certain of the interrogatories. Rimini claimed to be unable to respond

 8   completely due to lack of available information, including (1) the contents of the software library

 9   and (2) which of Rimini’s local installed copies of PeopleSoft software, i.e., environments, were

10   built using the software library.

11

12                                            As a result, on these key points, Oracle will have to “rely

13   on incomplete and spotty evidence at trial,” which supports an adverse inference sanction. Leon,

14   464 F.3d at 959 (quoting Anheuser-Busch, Inc. v. Natural Beverage Distribs., 69 F.3d 337, 348

15   (9th Cir. 1995)).

16          Third, the sanction Oracle seeks – an adverse inference instruction – is the appropriate

17   remedy in these circumstances. See, e.g., Akiona v. United States, 938 F.2d 158, 161 (9th Cir.

18   1991); E.I. du Pont de Nemours and Co. v. Kolon Industries, Inc., 803 F. Supp. 2d 469, 487

19   (E.D. Va. 2011); Advantacare Healthcare Partners LP v. Access IV, No. 03-04496, 2004 WL

20   1837997, at *7-*8 (N.D. Cal. Aug. 17, 2004). Mere payment of fees and expenses would leave

21   Rimini with the advantage in this litigation created by its willful deletion of relevant evidence.

22   And even if the sanction were to put Oracle in a “more advantageous position than if [Rimini]

23   had never destroyed evidence to begin with, the inference is nevertheless appropriate, as it places

24   the risk of an erroneous judgment on the party that wrongfully created the risk.” Io Group Inc. v.

25   GLBT Ltd., C-10-1282 MMC DMR, 2011 WL 4974337, at *8 (N.D. Cal. Oct. 19, 2011) (citing

26   West v. Goodyear Tire & Rubber Co., 167 F.3d 776, 779 (2d Cir. 1999)).

27          Accordingly, IT IS HEREBY ORDERED THAT, an adverse inference sanction is

28    appropriate. For summary judgment purposes, Rimini’s January 2010 deletion of the software
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 1   library shall be deemed evidence that supports Oracle’s claims and does not support Rimini’s

 2   defenses, and each of the two sets of facts listed below shall be presumed to be true, subject to

 3   rebuttal by Rimini. In addition, at any trial, the jury shall be instructed that it may infer from

 4   Rimini’s January 2010 deletion of the software library that the contents of the software library

 5   would have supported Oracle’s claims and would not have supported Rimini’s defenses.

 6   Moreover, the jury shall be instructed to presume the following two sets of facts to be true,

 7   subject to rebuttal by Rimini.

 8      1. The software library included a complete copy of each of Oracle’s registered works

 9          corresponding to the names of the folders at the time of the deletion, including each of

10          the following:

11
              Deleted Folder Name                Corresponding Registered Oracle Work
12            (Ex. 50 (RSI06276320))             (Complaint ¶ 75)
13            CRM 8.8                            PeopleSoft Customer Relationship
                                                 Management Version 8.8
14            CRM 8.9                            PeopleSoft Customer Relationship
                                                 Management Version 8.9
15            EPM 8.8                            PeopleSoft Electronic Performance
16                                               Management Version 8.8
              EPM 8.9                            PeopleSoft Electronic Performance
17                                               Management Version 8.9
              FSCM 8.4 SP2                       PeopleSoft Financials and Supply Chain
18                                               Management Version 8.4 Service Pack 2
              FSCM 8.8 SP1                       PeopleSoft Financials and Supply Chain
19
                                                 Management Version 8.8 Service Pack 1
20            FSCM 9                             PeopleSoft Financials and Supply Chain
                                                 Management Version 9
21            HRMS 8 SP1                         PeopleSoft Human Resources Management
                                                 System Version 8 Service Pack 1
22
              HRMS 8.3 SP1                       PeopleSoft Human Resources Management
23                                               System Version 8.3 Service Pack 1
              HRMS 8.8 SP1                       PeopleSoft Human Resources Management
24                                               System Version 8.8 Service Pack 1
              HRMS 8.9                           PeopleSoft Human Resources Management
25                                               System Version 8.9
26            HRMS 9.0                           PeopleSoft Human Resources Management
                                                 System Version 9.0
27            PeopleBooks                        Each of the separately registered versions
                                                 of PeopleBooks alleged in this action
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                                                     4                          Case No. 2:10-cv-00106-LRH-PAL

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 1          Deleted Folder Name              Corresponding Registered Oracle Work
            (Ex. 50 (RSI06276320))           (Complaint ¶ 75)
 2          PT 8.21                          PeopleTools Version 8.21
 3          PT 8.22                          PeopleTools Version 8.22
            PT 8.42                          PeopleTools Version 8.42
 4          PT 8.45                          PeopleTools Version 8.45
            PT 8.46                          PeopleTools Version 8.46
 5          PT 8.47                          PeopleTools Version 8.47
 6          PT 8.48                          PeopleTools Version 8.48
            PT 8.49                          PeopleTools Version 8.49
 7
       2. Each of the 143 installed copies of PeopleSoft software, i.e., environments, listed below
 8
          as identified in Rimini interrogatory responses, was created by copying PeopleSoft
 9
          software contained in the software library, which was not obtained from or on behalf of
10
          the client associated with the environment.
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13        IT IS SO ORDERED.
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     DATED:_________________                       By:_________________________________
15
                                                         United States District Judge
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